                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION



UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:09-00242
                                                )           JUDGE CAMPBELL
TERESA A. WEST                                  )


                                            ORDER

       Pending before the Court is a letter from the Defendant (Docket No. 314) requesting that

the Court remove the “Public Safety Factor” that is preventing her from transferring to a camp

facility where she can participate in an apprenticeship and other programs.

       The Court did not impose the “Public Safety Factor” described by the Defendant in her

letter. The Court has no opinion regarding the Defendant’s place of incarceration, which is a

decision for the Bureau of Prisons, and does not oppose the Defendant’s participation in the

programs she describes in her letter.

       It is so ORDERED.

                                                    _________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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